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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  SOHAIL KIYANI

                                 Plaintiff,

  vs.                                                         CASE NO.: 9:24-cv-81532-DMM

  RIC L. BRADSHAW, in his capacity as
  Sheriff of Palm Beach County, Florida                       REMOTE ORAL ARGUMENT /
                                                              CONFERENCE REQUESTED

                                 Defendant.

  __________________________________ /

                        PLAINTIFF’S MOTION FOR CONTINUANCE
                          OF CERTAIN PRETRIAL DEADLINES

         Plaintiff, Sergeant Sohail Kiyani (“Plaintiff” or “Sgt. Kiyani”), by and through his

  undersigned counsel, moves for a brief continuance of certain pretrial deadlines and, in support

  thereof, submits as follows:

         1.      Sgt. Kiyani filed his Complaint (ECF Doc. No. 1) in this action on December 10,

  2024, alleging amongst other things, the urgent need for systematic change at the PBSO whereby

  35 of 39 individuals promoted from Sergeant to Lieutenant have been Caucasian, including in the

  last three promotional exam processes held over the last six years since 2018.

         2.      Defendant, Ric L. Bradshaw, in his capacity as Sheriff of Palm Beach

  County (“Defendant”), filed an Answer (ECF Doc. No. 6) to Plaintiff’s Complaint on January

  02, 2025.

         3.      The Court issued an Order (ECF Doc. No 9) referring the case to Magistrate

  Judge Matthewman and setting trial during the two-week period commencing August 11, 2025.

         4.      The Court thereafter issued an expedited Pretrial Scheduling Order (ECF Doc. No
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  15) setting Pretrial deadlines and separately modifying the trial date to the two-week period

  commencing August 25, 2025, to accommodate Defendant’s counsel vacation to Hawaii.

          5.      The parties have made good faith and diligent efforts to proceed actively in this

  action having a) exchanged Initial Disclosures; b) exchanged witness lists; c) exchanged

  approximately 2000 pages of documents; d) conducted Sgt. Kiyani’s deposition; e) attended a

  settlement conference; and f) followed the Pretrial Scheduling Order in other material respects.

          6.      Thereafter, Plaintiff’s First Set of Interrogatories and First Set of Request for

  Production were served on May 29, 2025. Defendant’s counsel did not reject or otherwise object

  to the transmittal of Plaintiff’s demands on that date. In fact, over a week after serving its discovery

  demands, our office was first advised on June 06, 2025, that Defendant did not intend to respond

  to Plaintiff’s said discovery demands. This was despite the fact that counsel met on numerous

  occasions during this period, including to conduct Sgt. Kiyani’s deposition on May 30, 2025, and

  to participate in a settlement conference before Magistrate Judge Matthewman on June 03, 2025.

          7.      We met and conferred with Defendant’s counsel in good faith via e-mail on June

  06, 2025, and again on June 09, 2025, and Defendant’s counsel has maintained her position in that

  she does not intend to respond to Sgt. Kiyani’s discovery demands.

          8.      Having left with no choice, Sgt. Kiyani now seeks a modest ~30-day continuance

  of certain dates of the Pretrial Scheduling Order (ECF Doc. No. 15), in that a) all discovery,

  including depositions, shall be completed by July 14, 2025 instead of June 12, 2025; b) compelling

  Defendant to respond to Plaintiff’s Interrogatories and Request for Production no later than June

  28, 2025; and c) permitting Plaintiff to provide Defendant’s counsel with a written list with the

  names and addresses of all expert witnesses to be called at trial no later than July 14, 2025.

          9.      Sgt. Kiyani’s request for continuance of dates specified above is limited in




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  scope and it does not pose prejudice or a significant burden on the Defendant or its counsel.

  Plaintiff is not seeking to modify the Pretrial Scheduling Order in any other respect, and the

  documents and information sought are already in the Defendant’s custody, control, or possession

  as Defendant’s counsel has defended the Defendant in a related Union Arbitration and EEOC

  hearing. This is not a new subject matter for Defendant or Defendant’s counsel.

          10.     Rather, there would be extreme prejudice to Sgt. Kiyani, as he is entitled to be

  aware of and consider all facts essential to the case in order to prove his case and justify any

  opposition to Defendant’s motion for summary judgement, which Defendant has advised it intends

  to file. If a party cannot present facts essential to justify its opposition to a motion for summary

  judgment, the Court may a) defer considering the motion; b) allow time to take discovery; or c)

  issue any appropriate order. See Fed. R. Civ. P. 56(d).

          11.     Moreover, just two days prior to Defendant’s May 30 deposition of Sgt. Kiyani, it

  became more evident that Sgt. Kiyani would be required to retain an expert witness given that this

  was the first instance Defendant presented the results of the 2024 promotional exam process.

          12.     Retaining an expert witness in early March would have potentially been

  disadvantageous to Sgt. Kiyani, since at that time, he did not have the information that is available

  now, nor would it have been efficient to litigate, hire an expert, and engage in expert discovery at

  that early stage.

          13.     Separately, Plaintiff’s counsel leading this matter faced personal and emergent

  health matters with an immediate family member that required a visit to the Emergency Room on

  February 25, 2025, a visit to the urgent care on March 01, 2025, a visit to a specialist physician’s

  office on March 05, 2025, March 17, March 31, 2025, April 16, 2025, and April 21, 2025,

  concluding with a required surgery that was finally performed on May 21, 2025.




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         14.     Pursuant to the Federal Rules, the Court may, for good cause, extend time. See

  Fed. R. Civ. P. 16(b)(4).

         15.     The requested continuance is made in good faith and not for purposes of delay.

  Moreover, no party will be prejudiced by the relief requested herein, because Sgt. Kiyani is not

  seeking to adjourn other Pretrial deadlines or delay trial, only a modest continuance to complete

  discovery, including material information required to prosecute his case. In fact, he is keen to

  proceed with trial in this matter expeditiously and is not seeking to adjourn the trial date.

         WHEREFORE, the Plaintiff respectfully requests the Court to grant a brief continuance of

  certain limited Pretrial deadlines in that, a) allow all discovery, including depositions, to be

  completed by July 14, 2025; b) compel Defendant to respond to Plaintiff’s Interrogatories and

  Request for Production no later than June 28, 2025; c) permit Plaintiff to provide Defendant’s

  counsel with a written list with the names and address of all expert witnesses intended to be called

  at trial no later than July 14, 2025, and d) provide such other and further relief that this Court

  deems just and proper, for this matter to be tried on the merits.

  Dated: June 10, 2025                                   Respectfully submitted,

                                                         CRISCIONE RAVALA, LLP

                                                         /s/ Galen J. Criscione
                                                         By: Galen J. Criscione, Esq.
                                                         FL Bar No: 0088593
                                                         110 E. Broward Blvd.
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                               CERTIFICATE OF COMPLIANCE

         Counsel for Plaintiff has conferred with Counsel for Defendant regarding the relief
  sought in this application and said counsel opposes the relief sought herein.

  Dated: June 10, 2025                                 Respectfully submitted,

                                                       CRISCIONE RAVALA, LLP

                                                       /s/ Galen J. Criscione
                                                       By: Galen J. Criscione, Esq.
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                                                       gcriscione@lawcrt.com
                                                       Attorneys for Plaintiff


                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk of the Court and served via CM/ECF on this 10th day of June 2025 to counsel for

  Defendant, by the designated service email address(es) registered on the Court’s filing system.


  Dated: June 10, 2025                                 Respectfully submitted,

                                                       CRISCIONE RAVALA, LLP

                                                       /s/ Galen J. Criscione
                                                       By: Galen J. Criscione, Esq.
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